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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
                     Criminal No. 19-103 MJD/ECW)


UNITED STATES OF AMERICA,
                                                 SUPERSEDING
                   Plaintiff,                    INDICTMENT

      v.                                         18 U.S.C. S e22(g)(1)
                                                 18 U.S.C. S e2a(a)(2)
ANTHONY AKEMU ABARI,                             21 U.S.C. S 841(a)(1)
alkla Anthony Akeum Abari,                       21 U.S.C. S 841(b)(1)(A)
alkla "B" or "Bee"                               21 u.s.c. s 841(b)(1)(q)
                                                 21 U.S.C. S 841(b)(1)(C)
RELONDO DEVON HALL,                              21 U.S.C. S 846
alkla"Spade", and                                21 U.S.C. S 853(a)
                                                 21 U.S.C. S 853(p)
KEVIN GREEN,                                     2s U.S.C. S 2a61(c)
alkla "Chuck" akla "Stunna".

                   Defendants.

THE UNITED STATES GRAND JURY CHARGES THAT:

                                   COUNT    I-
           (Conspiracy To Distribute Controlled Substances)

      From at least December 2018 and continuing through July 8, 2019, in

the State and District of Minnesota, the defendants,

                        ANTHOI\IY AKEMU ABARI,
                         alkl aAnthony Akeum Abari,
                               alkla "B" or "Bee."

                         RELONDO DEVON HALL,
                                alkla"Spade," and

                                KEVIN GREEN,
                         alkla "Chuck" alkla "Stunna."

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did knowingly and intentionally conspire with each other, and with others

known and unknown to the grand jury, to distribute controlled substances,

specifically 400 grams or more of mixtures and substances containing a

detectable amount of Fentanyl, also known by the chemical name N-phenyl-N-

[1-(2-phenylethyl)-4-piperidinyl] propanamide, such mixtures and substances

also contained a detectable amount of heroin, all in violation of            Title 21, United

States Code, Sections 8a1(aXl), 841&X1)(A), and 846.

                               COUNT 2
      (Possession With Intent To Distribute Ccintrolled Substances)

        On or about January 24, 2019, in the State and District of Minnesota,

the defendant,

                                 ANTHONY AKEMU ABARI,
                                   alkla Anthony Akeum Abari,
                                         alkla "B" or "Bee."

did unlawfully, knowingly and intentionally possess with intent to distribute

a controlled substance, specifically, 40 grams or more of a mixture and
substance containing a detectable amount of Fentanyl, which is also known by

the         chemical           name          N-phenyl- N- [ 1 - (2-phenylethyl) -a-piperidinyl]

propanamide, such mixture and substance also contained a detectable amount

of heroin, all in violation of        Title 21, United States Code, Sections 8a1(a)(l)and

841(b)(1)(B).
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                                COUNT 3
      (Possession With Intent To Distribute Controlled Substances)

        On or about April 14, 2019, in the State and District of Minnesota, the

defendants,

                                 ANTHOI{Y AKEMU ABARI,
                                  alkla Anthony Akeum Abari,
                                       alkla "B" or "Bee." and

                                  RELONDO DEVON HALL.
                                              alkla "Spade,"

did unlawfully, knowingly and intentionally possess with intent to distribute

a controlled       substance, specifically,          a mixture and substance   containing

detectable amounts of heroin and Fentanyl, which                   is also known by the
chemical name N-phenyl-N-[1-(2-phenylethyl)-a-piperidinyl]              propanamide, all

in   violation of Title           2I, United       States Code, Sections 8a1(a)(1), and

841(bX1)(C).

                                  COUNT 4
      (Possession With Intent To Distribute Controlled Substinces)

        On or about July 8, 2019, in the State and District of Minnesota, the

defendant.

                                             KEVIN GREEN,
                                   alkla "Chuck" alkla "Stunna,"

did unlawfully, knowingly and intentionally possess with intent to distribute

a controlled substance, specifically, 40 grams or more of a mixture and
substance containing a detectable amount of tr'entanyl, which is also known by
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the        chemical name                        N-phenyl-N-[1-(2-phenylethyl)- -piperidinyl]

propanamide, such mixture and substance also contained a detectable amount

of heroin, all in violation of Title 21, United States Code, Sections 841(a)(1),

841 (b)(1)(A) and 84       1   (b)(l)(B).

                                             COUNT 5
                                 (Felon in Possession of a Firearm)

        On or about January 24, 2019, in the State and District of Minnesota,

the defendant,

                                  ANTHOI\IY AKEMU ABARI,
                                   alkla Anthony Akeum Abari,
                                         akla "B" or "Bee,"

having been convicted of the following crimes, each of which was punishable

by a term of imprisonment exceeding one year,

 Cr.ifn6                                    Date oTlCb-nviciiori
                                            (on qq ahoutl
 Simple Robberv                             6lu1999                Hennepin Countv. MN
 Motor Vehicle Theft                         21712000              Hennepin Countv, MN
 Theft from Person                           21712000              Hennepin Countv, MN
 Theft bv Swihdle                            I21I812000            Hennepin County, MN
 Motor Vehicle Theft                         31512002              Ramsev Countv, MN
 Drugs 5 - Possession                        511612002             Hennenin Countv. MN
 Assault 2                                   21ru2003              Winona Countv. MN
 Felon in Possessron                         814120ro              U.S. District of MN


and knowing he had previously been convicted of at least one crime punishable

by imprisonment for a term exceeding one year, knowingly possessed a firearm,

to wit, a 9mm SCCY model CPX-I handgun with obliterated serial number,
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and the firearm was in and affecting commerce,                  allin violation Title   18,   United

States Code, Section 922(g)(I).

                                        COUI{T 6
                            (Felon in Possession of a Firearm)

        On or about April 14, 2019, in the State and District of Minnesota, the

defendant,

                                  RELONDO DEVON HALL.
                             ,                 a/k/a "Spade",

having been convicted of the following crimes, each of which was punishable

by a term of imprisonment exceeding one year,

 Cr!1ae                                  Deft of Coirvictioii
                                             (on or dbout)
 Burslarv 2'd Deeree                         61412007                Hennepin Cotintv, MN
 Drues 5 - Possession                        412412003               Hennepin Codntv, MN


and knowing he had previously been convicted of a crime punishable by

imprisonment for a term exceeding one year, knowingly possesse{ a firearm,

to wit, a Colt .32 caliber CVC pistol with serial number 236863, and [he firearm

was in and affecting commerce, all in violation Title 18, United States Cod.e,

Section 922(dQ).
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                               FORFEITURE ALLEGATIONS

        If convicted of any Count of this Indictment, the defendants shall forfeit

to the United States, pursuant to Title 18, United States Code, Section
924(d)(1) and Title 28, United States Code, Section 246I(c), any firearms,

ammunition, and accessories involved in, connected with, or used                          in   the

commission of such Count, including but not limited to: (1) a 9mm SCCY Model

CPX-1 handgun with and obliterated serial number, and (2) a CoIt .32 caliber

CVC pistol      with serial number 236863.

        If convicted of Counts I-4 of this Indictment, the defendants shall forfeit

to the United States, pursuant to Title 21, United States Code, Section 853,

any property constituting, or derived from, any proceeds the' defendant

obtained, directly or indirectly, as the result of such violation and apy property

used, or intended to be used,            in any manner or part, to commit, or to facilitate

the commission of such violation, including but not limited to: (1) $4,009 in

U.S. currency seized from the defendants on January 24, 20\9, and a 9mm

SCCY Model CPX-1 handgun                        with obliterated serial number and             any

ammunition and accessories seized therewith, (2) $3,02I rn U.S. currency

seized from the defendants on                April   14, 2019, and a Colt .32 caliber, CVC pistol

with serial number 236863 and any ammunition and accesso'ries                             seized

therewith, and (3) $196,921 in U.S. currency seized from the defendants on

July 8, 2019.
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        If any of the above-described property is unavailable for forfeiture, the
United States intends to seek the forfeiture of substitute property as provided

for in Title 21, United States Code, Section S53(p).



                                             A TRUE BILL




United States Attornev                              FORtrPERSON
